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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

STAG WILLIAMSPORT, LLC,

                                      Plaintiff,
               v.
                                                                      Civil Action No.
BHN ASSOCIATES, LLC, &
                                                                      1:21-cv-11958-NMG
FIRST AMERICAN TITLE INSURANCE
COMPANY,
and in rem against
CERTAIN FUNDS HELD IN ESCROW BY THE
BOSTON OFFICE OF FIRST AMERICAN
TITLE INSURANCE COMPANY
                        Defendants.


    PLAINTIFF/COUNTERCLAIM DEFENDANT STAG WILLIAMSPORT, LLC’S
                ANSWER TO DEFENDANT/COUNTERCLAIM
           PLAINTIFF BHN ASSOCIATES, LLC’S COUNTERCLAIM

        Plaintiff/Counterclaim Defendant STAG Williamsport, LLC (“STAG”), hereby answers

Defendant/Counterclaim Plaintiff BHN Associates, LLC’s (“BHN”) Counterclaim as follows:

        52.         The allegations in paragraph 52 contain conclusions of law to which no response

is required.

        53.         The allegations in paragraph 53 contain conclusions of law to which no response is

required.

        54.         STAG lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 54.

        55.         STAG admits that it is a Delaware limited liability company with a principal place

of business at One Federal Street, 23rd Floor, Boston, Massachusetts. STAG Williamsport, LLC’s

sole member is STAG Industrial Holdings, LLC, a Delaware limited liability company with a

principal place of business at One Federal Street, 23rd Floor, Boston, Massachusetts. STAG

Industrial Holdings, LLC’s sole member is STAG Industrial Operating Partnership, L.P.. At the

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time this case was removed to this Court, the partners of STAG Industrial Operating Partnership,

L.P. were natural persons domiciled in Massachusetts, Illinois, Delaware, Florida, New Jersey,

Connecticut, Kansas, New Mexico, Michigan, Rhode Island, Pennsylvania and Georgia.

       56.     Admit.

       57.     The allegations in paragraph 57 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       58.     The allegations in paragraph 58 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       59.     The allegations in paragraph 59 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       60.     The allegations in paragraph 60 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       61.     The allegations in paragraph 61 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       62.     The allegations in paragraph 62 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       63.     The allegations in paragraph 63 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       64.     The allegations in paragraph 64 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       65.     The allegations in paragraph 65 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.




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       66.     The allegations in paragraph 66 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       67.     The allegations in paragraph 67 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       68.     The allegations in paragraph 68 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       69.     The allegations in paragraph 69 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       70.     The allegations in paragraph 70 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       71.     Admit.

       72.     The allegations in paragraph 72 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

       73.     The allegations in paragraph 73 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

The allegations in paragraph 73 further purport to reference, characterize and/or quote

correspondence between STAG and BHN, and STAG respectfully refers the Court to such

correspondence for its contents. To the extent the allegations misquote and/or mischaracterize the

referenced correspondence, denied.

       74.     The allegations in paragraph 74 purport to reference, characterize and/or quote

correspondence between STAG and BHN, and STAG respectfully refers the Court to such

correspondence for its contents. To the extent the allegations misquote and/or mischaracterize the

referenced correspondence, denied.




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       75.     The allegations in paragraph 75 purport to reference, characterize and/or quote

correspondence between STAG and BHN, and STAG respectfully refers the Court to such

correspondence for its contents. To the extent the allegations misquote and/or mischaracterize the

referenced correspondence, denied.

       76.     Denied.

       77.     The allegations in paragraph 77 purport to reference, characterize and/or

quote correspondence between STAG and BHN, and STAG respectfully refers the Court to such

correspondence for its contents. To the extent the allegations misquote and/or mischaracterize the

referenced correspondence, denied.

       78.     The allegations in paragraph 78 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

The allegations in paragraph 78 further purport to reference, characterize and/or quote

correspondence between STAG and BHN, and STAG respectfully refers the Court to such

correspondence for its contents. To the extent the allegations misquote and/or mischaracterize the

referenced correspondence, denied.

       79.     The allegations in paragraph 79 refer to a written document which speaks for itself.

To the extent the allegations misquote and/or mischaracterize the referenced document, denied.

To the extent any additional response is required, denied.

       80.     STAG denies that it failed to perform under the PSA or was otherwise required to

adjourn the Closing Date.

       81.     The allegations in paragraph 81 purport to reference, characterize and/or quote

correspondence between STAG and BHN, and STAG respectfully refers the Court to such




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correspondence for its contents. To the extent the allegations misquote and/or mischaracterize the

referenced correspondence, denied.

        82.    STAG repeats and incorporates by reference here its response to each and every

other paragraph of the Counterclaim.

        83.    Admit.

        84.    Denied.

        85.    Denied.

        86.    STAG repeats and incorporates by reference here its response to each and every

other paragraph of the Counterclaim.

        87.    Admit.

        88.    Admit.

        89.    Denied.

        90.    Admit.

        91.    Admit that FATIC has properly refused to release the escrow funds to BHN.

        92.    The allegations in paragraph 92 contain conclusions of law to which no response

is required.

        93.    Denied.

                               FIRST AFFIRMATIVE DEFENSE

        Some or all of BHN’s allegations fail to state a claim for relief.

                             SECOND AFFIRMATIVE DEFENSE

        Some or all of BHN’s claims may be barred on account of its own fraud or inequitable

conduct.




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                             THIRD AFFIRMATIVE DEFENSE

       To the extent BHN suffered any damages (which STAG expressly denies), BHN failed to

mitigate its damages.

                            FOURTH AFFIRMATIVE DEFENSE

       Some or all of BHN’s claims may be barred under the doctrine of waiver or estoppel.

                             FIFTH AFFIRMATIVE DEFENSE

       Some or all of BHN’s claims are barred by its own material breaches of the PSA.

                             SIXTH AFFIRMATIVE DEFENSE

       To the extent BHN suffered any damages (which STAG expressly denies), BHN is solely

responsible for any such damages

                           SEVENTH AFFIRMATIVE DEFENSE

       STAG reserve the right to amend or supplement its list of affirmative defenses.



WHEREFORE, STAG respectfully requests that the Court:

       A.      Deny BHN’s prayers for relief in full;

       B.      Enter judgment in STAG’s favor on all counts in BHN’s Counterclaim;

       C.      Award STAG its costs, expenses, and attorneys’ fees; and

       D.      Award such other and further relief as to this Court seems just and proper.




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                                                  Respectfully submitted,

                                                  STAG WILLIAMSPORT, LLC
                                                  By its attorneys,

                                                  /s/ Benjamin M. Greene
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                                                  ARENTFOX SCHIFF LLP
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                                                  Boston, MA 02199-8004
                                                  (617) 973-6100
                                                  Benjamin.Greene@afslaw.com
Date: September 21, 2022



                                 CERTIFICATE OF SERVICE

       I, Benjamin M. Greene, hereby certify that on this 21st day of September, 2022, I caused

a copy of the within document to be filed and served on all counsel of record via the electronic

filing system for the U.S. District Court, District of Massachusetts.


                                                             /s/ Benjamin M. Greene___
                                                             Benjamin M. Greene




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